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IN THE UNITED STATES DISTRICT
COURT FOR THE DISTRICT OF
COLORADO

Civil Action No. 1:19-cv-02133-DDD

JOBADIAH WEEKS, an individual and Colorado citizen,
Plaintiff,
VS.

STEVEN M. SNYDER, an individual and Florida citizen, and AFS-TT, LLC, a Florida
limited liability company,

Defendants.

 

AFFIDAVIT OF NADAV ASCHNER

 

I, Nadav Aschner, being over 18 years of age and of sound mind, affirm and state as
follows:

1. I sign this affidavit under oath and have personal knowledge of the information set
forth herein.

2. I am an attorney with The Rodman Law Group, LLC (the “Firm”), located in
Denver, Colorado.

3. The Firm represents Jobadiah Weeks in the litigation styled Weeks v. Snyder et. al.,
case number 19-cv-02133-DDD-SKC.,

4. On February 18, 2020, I filed Plaintiffs Renewed Motion for Entry of Default
[Doc. 19] (the “Renewed Motion”).

5. Prior to filing the Renewed Motion, I conferred with Steven M. Snyder via
telephone.
6. T asked Mr. Snyder if he objected to the contents of the Renewed Motion, and Mr.

Snyder exclaimed that he was “not happy about it,” but acknowledged that he did not comply with
the Court’s order to file a sufficient responsive pleading.

7. My Snyder also informed me that, as of February 18, 2020, he had not found an
attorney to represent him or Defendant AFS-TT LLC.
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8. Mr. Snyder stated that he thought that he had more time to obtain counsel and
believed that the Court would send him notice of a second status conference with ample time to
obtain counsel.

9. On information and belief, Mr. Snyder has not made any attempt to obtain counsel
since February 18.

10. As of the date of this affidavit, Defendants have not filed an answer with the Court.

Further, Affiant sayeth not.

Dated this 28" day of May, 2020.

Lh ——

Nadav Aschner

Subscribed and affirmed before me in the county of Denver, State of Colorado, this 28" day of

May, 2020, by Nadav Aschner.

   

 

| ALEX'S CHRISTINE CORONA

NOTARY PUBLIC - STATE OF COLORADO
NOTARY ID 20194003704

MY COMMISSION EXPIRES JAN 28, 2023

 

 

 

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Commission Expiration Date SEAL
